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                     UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION

 IN RE:                                   CASE NO. 13-12919
                                          JUDGE Jeffery P. Hopkins
 CHRISTOPHER HARTSFIELD                   CHAPTER 13
 HEIDI HARTSFIELD

 Debtors                                  MOTION AND NOTICE TO APPROVE
                                          PERMANENT MORTGAGE LOAN
                                          MODIFICATION




      Now comes the Debtors, Christopher and Heidi Hartsfield, and requests
that the Court approve the terms of the permanent mortgage loan modification
attached hereto as Exhibit A.

      Amended Schedules I and J were filed on January 21, 2017, Doc 73.     No
motion to modify the plan will be filed, and the percentage to unsecureds will
remain at 100%.


                              MEMORANDUM IN SUPPORT

   1. The debtors filed this case on June 19, 2013.

   2. This case is above median income case.

   3. The mortgage creditor affected by the loan modification is Ocwen Loan
      Servicing.

   4. The payment address for the loan modification is the same as previously
      filed with the Court.

   5. The mortgage is currently paid by Trustee.

   6. The Trustee is instructed to stop paying the mortgage arrearage.

   7. This is a conduit and Trustee shall continue to make the conduit payment.

   8. The mortgage balance owed on the petition date was $250,244.68.

   9. The current (new) mortgage payment is $1841.99 and the current interest
      rate is 8.25%.

   10. The modified principal balance of the loan is $230,932.12.

    11. The new maturity date is March 1, 2036. The modification, effective
________,
        changes the mortgage payment to $1841.99 starting December 1, 2016. The
new
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       mortgage interest rate is 3.0%.

      12. The permanent mortgage payment includes escrow: $528.97 (which may
vary yearly).


      13. The pre-petition arrears shall be: eliminated

            a. due as a balloon payment at the maturity of the loan with interest
               accruing on said arrears at the rate of ______
            b. re-amortized in the loan in full______.

            c. re-amortized in the loan at the reduced amount of _______________

            d. reduced to the amount of _____________and due as a balloon payment
               at the maturity of the loan with interest accruing at the rate of
               ___________

            e. eliminated:   _X_.

            f. other (please explain)_____________

      14.      The post-petition arrears, if any, shall be: N/A

            a. due as a balloon payment at the maturity of the loan with
               interest accruing on said arrears at the rate of __________

            b. re-amortized in the loan in full _______

            c. re-amortized in the loan at the reduced amount of _______

            d. reduced to the amount of ___________ and due as a balloon payment
               at the maturity of the loan with interest accruing at the rate of
               _____

            e. eliminated __________

            f. other (please explain)



WHEREFORE, the debtors request the court to approve the attached permanent
mortgage loan modification.




                                             Respectfully submitted,
                                             /s/Jayma C. Bagliore
                                             O’CONNOR, ACCIANI & LEVY, LPA
                                             Henry D. Acciani – 0028872
                                             Jayma C. Bagliore – 0008844
                                             Rick J. Enriquez – 0040020
                                              600 Vine Street Ste 1600
                                             Cincinnati, OH 45202
                                              513-241-1371
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                                              NOTICE

       Christopher and Heidi Hartsfield have filed papers with the court to approve a permanent
loan modification .

      Your rights may be affected. You should read these papers carefully and discuss
them with your attorney, if you have one in this bankruptcy.

        If you do not want the court to order the Motion To payoff Chapter 13, or if you want the
court to consider your views on the Motion to payoff Chapter 13, then within twenty-one (21) days
from the date of service as set forth in the certificate of service below you or your attorney must
file with the court a written request for a hearing {or, if the court requires a written response, an
answer, explaining your position} at:

                       Clerk of the US Bankruptcy Court
                       Atrium Two, Suite 800
                       221 East Fourth Street
                       Cincinnati, Ohio 45202

       You must also mail a copy to:

                       Jayma C. Bagliore                             Margaret A. Burks
                       Attorney for Debtor                           Chapter 13 Trustee
                       600 Vine Street                               600 Vine Street
                       Suite 1600                                    Suite 2200
                       Cincinnati, OH 45202                          Cincinnati, OH 45202

                       Office of the US Trustee
                       36 East Seventh Street
                       Suite 2030
                       Cincinnati, OH 45202

        If you or your attorney do not take these steps, the court may decide that you do not oppose
the relief sought in the motion and may enter an order granting that relief.


Date: 4-12-2017                                            /s/Jayma C. Bagliore
                                                        O’CONNOR, ACCIANI & LEVY, LPA
                                                           Henry D. Acciani – 0028872
                                                           Jayma C. Bagliore – 0008844
                                                           Rick J. Enriquez – 0040020
                                                           600 Vine Street
                                                           Suite 1600
                                                           Cincinnati, OH 45202

                                       CERTIFICATE OF SERVICE
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       I hereby certify that a copy of the Motion To Approve Permanent Mortgage Loan
Modification was served on all the registered ECF participants, electronically through the court’s
ECF systems at the email address registered with the court:



And on the following by ordinary U.S. Mail on April 12, 2017 addressed to:

Christopher and Heidi Hartsfield
5435 Amanda's Oak Court
Cincinnati, OH 45248

US Bank c/o Ocwen Loan Servicing
Bankruptcy Department
P.O. Box 24605
West Palm Beach, FL 33416

Ocwen Loan Servicing
1661 Worthington Road Ste 100
West Palm Beach, FL 33409

Adam Hall, Esq.
P.O. Box 165028
Columbus OH 43216




                                                         /s/Jayma C. Bagliore
                                                         O’CONNOR, ACCIANI & LEVY,
                                                         LPA
                                                         Henry D. Acciani – 0028872
                                                         Jayma C. Bagliore – 0008844
                                                         Rick J. Enriquez – 0040020
                                                         Attorney for Debtor
